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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

  THE STATE OF TEXAS, et al.,                    §
                                                 §
         Plaintiffs,                             §
  v.                                             §   Civil Action No. 4:20-cv-00957-SDJ
                                                 §
  GOOGLE LLC,                                    §
                                                 §
         Defendant.                              §
                                                 §

                                           ORDER

        Before the Court is Plaintiffs’ Motion to Lift Stay of Discovery Relating to the Network

 Bidding Agreement, ECF No. 288. After considering the Motion, Google’s Opposition, and any

 replies, the Court finds that the Motion should be DENIED.

        IT IS SO ORDERED.
